     Case 2:18-mj-06028-SCM Document 9 Filed 03/02/18 Page 1 of 1 PageID: 9


                           UNITED STATES DISTRICT COURT
                                DISTRiCT OF NEW JERSEY
                                      Martin Luther King. Jr.
                               Federal Building and U.S. Courthouse
                                          50 Walnut Street
                                           P.O. Box 419
                                   Newark, New Jersey 07 101-0419

 Wlliarn T. Walsh, CLERK

                                                 26 February 2018




 RE:        United States of America v.               PHILIP JAMES LAYFIELD
            Our Docket No. 2:18—mj—6028
            Your Docket No. v-OOQ

 Dear Clerk:

  Please be advised that an initial appearance was held in the
above-captioned case pursuant to Rule 5 of the Federal Rules of
Criminal Procedure.     You can obtain the original record by
accessing CM/ECF through PACER.  If applicable, a certified copy of
the Appearance Bond is enclosed. Kindly acknowledge receipt on the
duplicate of this letter, which is provided for your convenience.


 Sincerely,




WILLIAM T.           WALSH,   Clerk




Doer




RECEIPT ACKNOWLEDGED BY:
DRTE:




                                                                      DNJ—Crim—004 Rev.   09/06)
